                                                             USDC
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                                                             DOCUMENT
                                                             ELECTRONICALLY FILED
From:           Ksenia Shnyra
                                                             DOC #:
To:             Woods NYSD Chambers                          DATE FILED: 12/21/20
Cc:                 Mikhail Ratner; Tauster, David; Rosenthal, David
Subject:            Case No.: 19-cv-02420 (GHW): Plaintiff Shnyra"s Objections to Defendant"s Statement of Fees Pro Se
Date:               Friday, December 18, 2020 5:53:35 PM
Attachments:        PLAINTIFF SHNYRA’S OBJECTIONS TO DEFENDANT’S STATEMENT OF FEES AND EXPENSES FILED ON
                    DECEMBER 7, 2020, PRO SE.pdf


CAUTION - EXTERNAL:


Dear Judge Woods:

I am the main plaintiff in the above-captioned matter. I write to respectfully submit the objections
to Defendant’s December 7, 2020 application for attorney fees and cost for the reasons outlined
in the enclosed documentation.

Very truly yours,

Ksenia Shnyra, PhD

Encls.



cc: All counsel of record



CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution
when opening attachments or clicking on links.
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 KSENIA SHNYRA, ALEXANDER REYNGOLD, and                      Case No.: 19-cv-02420 (GHW)
 KENNETH WALKER,


                               Plaintiffs,


 -against-


 STATE STREET BANK AND TRUST CO., INC.,


                               Defendant.




  PLAINTIFF SHNYRA’S OBJECTIONS TO DEFENDANT’S STATEMENT OF FEES

                AND EXPENSES FILED ON DECEMBER 7, 2020, PRO SE


Plaintiff states the following objections to the Defendant’s Statement of Fees and Expenses

Related to the Sanctionable Conduct of Plaintiffs and Their Counsel filed on December 7, 2020.


                                             Introduction


     1.        On November 24, 2020, the Court issued a Memorandum Opinion and Order (the

"Order") with respect to State Street's Motion for Sanctions (the "Motion"). The Court granted

the Motion in part, stating that Plaintiffs and their counsel must pay the reasonable costs and

expenses incurred chasing after all of the discovery it was owed after the September 18, 2020

deadline ordered by the Court — including, the reasonable costs and expenses Defendant's




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counsel incurred in writing emails to his adversary and letters to the Court, participating in meet

and confers and court ordered conferences, and in making the Motion.

     2.         The Court directed State Street to submit a fee application documenting proof of

its fees and expenses on the above-mentioned tasks, by no later than December 11, 2020. The

Affidavit of Defendant’s Counsel (“The Affidavit”), with attached invoices, was submitted by

the Defendant’s counsel pursuant to this Order on December 7, 2020.

     3.         Defendant's counsel overreached in claiming $37,119.60 in fees and expenses for

incurred chasing after all of the discovery it was owed after the September 18, 2020 deadline

ordered by the Court—namely, the reasonable costs and expenses Defendant's counsel incurred

in writing emails to their adversary and letters to the Court, participating in meet and confers and

Court-ordered conferences, and in making the Motion.

     4.         In order to recover attorney fees, three conditions must be met for the

reasonableness of the time billed. First, the hours submitted must be adequately documented. See

New York State Ass'n for Retarded Children, Inc. v. Carey, 711 F.2d 1] 36, 1148 (2d Cir. 1983).

Second, the records must not be overly vague. See Henslev, 461 U.S. at 433. Finally, the billed

time must have been reasonably spent. Id. at 434.

     5.         Plaintiff challenges the Defendant's counsel declared expenses on each of these

grounds, arguing that their submissions are deficient in their documentation and substance. As

follows from the detailed analysis of the Affidavit included herein, Defendant's counsel:

     (a)        Included time outside of the declared court window for sanctions (September 19,

     2020 – November 24, 2020) extending the demands to November 30, 2020;

     (b)        Claimed unreasonable hourly rates for the main billers;




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     (c)        Claimed amounts under their name for the work that they did not perform first

     hand as the same tasks' conclusion was previously attested to be "on information and

     belief" in their previous affidavits (i.e., tasks that timekeeper claimed to have no first-hand

     knowledge of); and claimed payments for the work that would reasonably be needed to be

     performed regardless of the delays claimed by Defendant (tasks related to the analysis of

     the discovery documentation production);

     (d)        Claimed unreasonable amounts of time for some of the tasks they performed

     when Plaintiff analyzed these tasks against Defendant’s supporting evidence for the Motion

     for Sanctions and or to compel filed on October 21, 2020 (email exhibits);

     (e)        Included in their request ample time spent with their client on briefing the client

     on the matters. Scheduled client updates are an ordinary business course and do not change

     with the need to chase the Plaintiff's attorney.

      (f)       Additionally to point (e) above, some of the billers provided unreasonably vague

     descriptions of the services rendered, purposely lumping the report items with extensive

     billable hours with client updates to create further ambiguity, which constitutes inadequate

     documentation for the purposes of a fee application (block billing).

     (g)        Included in the Affidavit calculations that are deficient due to multiplication and

     summation errors.

     6.         Because of the deficiencies pointed above, the Defendant's total claim for the

Compensable tasks should be substantially reduced to no more than $15,657.45 which is more

than reasonable compensation for the limited matters for which the Court has allowed recovery.




                                                  3
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                                                Argument

       Defendant’s counsel included expenses for time outside of the declared court

       window:

     7.        The Court order in its description of the reasonable cost and expenses (the

“Compensable Tasks”) has directed the Defendant’s counsel to submit a fee application of cost

and expenses incurred chasing after all of the discovery it was due since September 18, 2020 and

in making the Motion. No expenses past the Court order on November 24, 2020, granting the

Motion, appear to be awarded. In view of the previous, the following tasks should not be

considered Compensable and should be struck from the fee application:

       (a) 11/25/20 - M. Caputo: 0.5 hour for “Review and analyze invoices involving work

            related to motion for sanctions. Review and analyze court's 11/24/20 order regarding

            case status conference. Correspond with plaintiffs' counsel regarding discovery

            issues.”

       (b) 11/30/20 - D. Rosenthal: 1.8 hour for “Review decision on sanctions motion. Prepare

            for conference on Wednesday.”

       (c) 11/30/20 - M. Caputo:      0.4 hour for “Correspond with M. Ratner regarding

            outstanding discovery issues. Review and analyze Plaintiffs' discovery responses in

            preparation for meet and confer with plaintiffs' counsel.”

     Unreasonable hourly rates for the main billers:

     8.        The Affidavit relies on using the Boston billable rate of Nixon Peabody to

establish hourly rates, as follows from submitted invoices (both payee and payer provide

addresses in Massachusetts). The Affidavit fails to articulate why a discretionary methodology




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based on the billable hours outside of the community where the Court sits provides an objective

and predictable calculation.

     9.        The Supreme Court has stated a clear preference for the lodestar calculation when

determining the amount and reasonableness of an attorney fee application (Perdue v. Kenny A.,

559 U.S. 542 (2010). The Supreme Court in Perdue stated that the lodestar fee figure, which is

determined by multiplying a reasonable hourly rate by the number of hours reasonably and

necessarily incurred in performing the services for which the fee application is made,

presumptively yields a reasonable fee. Millea v. Metro-N. R. Co., 658 F.3d 154, 6 (2d Cir. 2011)

(citing Arbor Hill Concerned Citizens Neighborhood Assoc. v. Cnty. of Albany, 522 F.3d 182,

183 (2d Cir. 2008)). The fee determined by the lodestar method is presumed reasonable because

it "is one that is adequate to attract competent counsel, but that does not produce windfalls to

attorneys." Blum v. Stenson, 465 U.S. 886,897 (1984) .

     10.       In the Second Circuit, the "relevant community to which the court should look is

the district in which the case was brought." Marisol A. ex rel. Forbes v. Giuliani, 111 F. Supp. 2d

381,386 (S.D.N.Y. 2000) (citing In re Agent Orange Prod. Liab. Litig., 818 F.2d 226, 232 (2d

Cir. 1987»).

     11.       Southern District of New York in Brig et al. v. Port Authority Trans Hudson, No.

1:2012cv05371 - Document 73 (S.D.N.Y. 2014), also orders application of the lodestar to

establish reasonable fee calculation.

     12.       Plaintiff argues that the application of the lodestar model should be used to

establish objective and predictable calculation given the arguments mentioned above. Once the

model is established, a question of the rates is further reviewed.




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     13.       Defendant’s counsel establishes the following hourly rates: David Rosenthal -

hourly billing rate of $812, David Tauster - hourly billing rate of $476, Michael Caputo - hourly

billing rate of $300, and Gail Rosner, a paralegal - hourly billing rate of $248 as per page 3

paragraph 5 of the Affidavit.

     14.       To determine the currently prevailing reasonable rate, one should look first to the

lawyer's level of experience." Wong v. Hunda Glass Corp., 09 Civ. 4402 (RLE), 2010 WL

3452417, at *3 (S.D.N.Y. Sept. 1,2010). It is noteworthy that the Affidavit submitted by the

Defendant's counsel does not assert the lawyers' level of experience and years since graduation to

facilitate accurate application of the lodestar calculation model.

     15.       In view of the foregoing, Plaintiff argues that the rates declared in Affidavit are

excessive in view of prevailing market rates. Here, the relevant community is the Southern

District of New York. In this district, in a 2011 civil rights case, this Court awarded a supporting

co-counsel with twenty-two years of experience, eleven of which had been devoted to "his own

practice focused on civil rights litigation," an hourly rate of $450. Barbour v. City of White

Plains, 788 F. Supp. 2d 216,225 (S.D.N.Y. 2011), affd, 700 F.3d 631 (2d Cir. 2012).

     16.       In 2009, an Eastern District of New York court analyzing the rates awarded in the

Southern District found that "[a] review of precedent in the Southern District reveals that rates

awarded to experienced civil rights attorneys over the past ten years have ranged from $250 to

$600, with average awards increasing over time." Vilkhu v. Citv ofNew York, 06 Civ. 2095

(CPS), 2009 WL 1851019, at *4 (E.D.N.Y. June 26, 2009) (collecting cases), vacated on other

grounds, 372 F. App'x 222 (2d Cir. 2010).

     17.       In 2013, a court in the Southern District of New York found that "rates on the

higher end of this [$250 to $600] spectrum [are] reserved for extraordinary attorneys held in




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unusually high regard in the legal community." Chen v. TYT E. Corp., 10 Civ. 5288 (P AC),

2013 WL 1903735, at (S.D.N. Y. May 8, 2013) see also Wong, 2010 WL 3452417, at *3 ("[T]he

range of fees in this District for civil rights and employment law litigators with approximately

ten years' experience is between $250 per hour and $350 per hour."); Heng Chan v. Sung Vue

Tung Corp., 03 Civ. 6048 (GEL), 2007 WL 1373118, at *3 (S.D.N.Y. May 8, 2007) (awarding

$450 to first-chair attorney with sixteen years' experience and $400 to advisory attorney with

fifteen years' experience); Garcia v. Giorgio's Brick Oven & Wine Bar, 11 Civ. 4689 (FM), 2012

WL 3339220, at *7 (S.D." N.Y. Aug. 15, 2012) (recommending an award $350 per hour to

employment attorney with 13 years' experience), adopted by 11 Civ. 4689 (LLS), 2012 WL

3893537 (S.D.N.Y. Sept. 7,2012).

      18.        Plaintiff argues that appropriate rates, adjusted for inflation, should be as

following:

      19.        David Rosenthal's reasonable hourly billing rate is $513. David Rosenthal's rate

calculation is based on an hourly rate of $450 circa 2011 adjusted for inflation of 13.9% and

under the assumption of on or about 20 years of relevant experience (see Barbour v. City of

White Plains, 788 F. Supp. 2d 216,225 (S.D.N.Y. 2011), affd, 700 F.3d 631 (2d Cir. 2012)1.

Plaintiff divides the November 2020 CPI (253.826) by November 2011 CPI (222.813) to obtain

the inflation from 2011 to 2020 (13.9%). Plaintiff multiplies the rate of $450 by 113.9% to

obtain the inflation adjusted $513 hourly rate for 2020.

      20.        David Tauster's reasonable hourly billing rate is $355. David Tauster's rate

calculation is based on an hourly rate of $300 as of 2010 adjusted for inflation and assumption of




1
 The inflation between 2011 and 2020 is obtained from the Bureau of Labor Statistics, CPI for Urban Wage Earners
and Clerical Workers (CPI-W) time series (https://data.bls.gov/timeseries/CWUR0000SA0) as per Exhibit C.


                                                       7
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under ten years of experience (see Wong, 2010 WL 3452417)2. Plaintiff divides the November

2020 CPI (253.826) by November 2010 CPI (214.75) to obtain the inflation from 2011 to 2020

(18.2%). Plaintiff multiplies the rate of $300 by 118.2% to obtain the inflation adjusted $355

hourly rate for 2020.

      21.        Michael Caputo’s reasonable hourly billing rate is $296 based on an hourly billing

rate of $250 as of 2010 adjusted for inflation (see Wong, 2010 WL 3452417)3. Plaintiff divides

the November 2020 CPI (253.826) by November 2010 CPI (214.75) to obtain the inflation from

2011 to 2020 (18.2%). Plaintiff multiplies the rate of $250 by 118.2% to obtain the inflation

adjusted $296 hourly rate for 2020.

      22.        For Gail Rosner, a paralegal, the hourly billing rate of $248 remains

unchallenged.

      23.        To further establish calculation under the lodestar model, the Compensable tasks

as presented by Defendant’s counsel are reviewed.

      Defendant’s counsel claimed amounts under their name for the work that they did not

      perform first hand:

      24.        Attached hereto as Exhibit A is a tabulation of the hours within Defendant’s

Affidavit that, based upon their dates and descriptions, are declared under the penalty of perjury

to have been spent on Compensable tasks. Such work includes 1.3 hours on September 25, 2020

by D. Tauster on “Preliminary review and analysis of the initial document production from K.

Shnyra and A. Reyngold” and 0.2 hours on October 1, 2020 by D. Tauster for “Preliminary

review and analysis of the K. Walker document production.”


2
  The inflation between 2010 and 2020 is obtained from the Bureau of Labor Statistics, CPI for Urban Wage Earners
and Clerical Workers (CPI-W) time series (https://data.bls.gov/timeseries/CWUR0000SA0) as per Exhibit C.
3
  The inflation between 2010 and 2020 is obtained from the Bureau of Labor Statistics, CPI for Urban Wage Earners
and Clerical Workers (CPI-W) time series (https://data.bls.gov/timeseries/CWUR0000SA0) as per Exhibit C.


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     25.       The Affidavit of David Rosenthal as of December 7, 2020 ascertains that David

Tauster did perform the preliminary review himself, hence the charges are recorded under his

name.

     26.       However, it is worth mentioning that in the Declaration of David A. Tauster filed

on October 21, 2020 (Document 67in the docket) on page 16 in paragraph 69, on page 17 in

paragraph 74, and on page 19 in paragraph 88, these tasks are listed “on information and belief”,

implying that David Tauster himself, did not have firsthand knowledge about initial discovery

documentation equivalency to the EEOC exhibits at the time of the first affidavit, direct quotes

included:

     27.       “69. Dr. Shnyra’s document production consisted of a single 180-page PDF. On

information and belief, the entire production consisted solely of documents which Dr. Shnyra

submitted to the EEOC as a part of her administrative complaint.”

     28.       “74. On information and belief, this personnel file was not included in Dr.

Shnyra’s document production.”

     29.       “88. This “first batch” consisted of a single, 14-page PDF. On information and

belief, this production also only consisted of documents which Mr. Ratner previously submitted

to the EEOC on Mr. Walker’s behalf.”

     30.       In no uncertain terms Mr. Tauster states that preliminary analysis and review of

the documentation production was not performed by him first hand, yet sworn affidavit of David

Rosenthal as of December 7, 2020 indicated to the contrary, billing these activities under Mr.

Tauster name with a corresponding rate.




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     31.       The Plaintiff would like to bring this identified logical flaw of both Affidavits to

the attention of the Court as it raises questions the legitimacy and accuracy of the records and

sworn testimonies produced by both Defendant’s counsel.

     32.       Plaintiff argues that for the purposes of the Compensable Tasks both of these

records should be excluded from the calculations. Not only it appears Mr. Tauster did not

perform them himself, but they would also need to be performed regardless of any delays.

     Defendant’s counsel claimed unreasonable amounts of time for some of the tasks they

     performed:

     33.       As Plaintiff continued to scrutinize the Defendant's counsel's records, one other

instance that raised concerns on the reasonableness was time allocated to reading correspondence

from and writing correspondence to Mr. Ratner by Defendant's counsel. Courtesy of the Motion

filed by Defendant's counsel on October 21, 2020, these emails' exact contents are available for

analysis. Upon the detailed word by word review of the provided 37 Exhibits from Defendant's

Motion on October 21, 2020 (Exhibit A through Exhibit KK inclusive), Plaintiff arrives at the

following conclusions:

       34.     Overwhelming majority of these daily emails are correspondence that contains, on

average, between three to four sentences from each party per email. The contents do not include

any references or complex concepts or require complex drafting. The contents of over 90% of

these emails without loss of the main thread can be summarized as follows:

       35.     Mr. Tauster asks Mr. Ratner where the relevant documents (discovery production

and responses to interrogatories) are, i.e., "Where are the documents?".

       36.     Mr. Ratner, under various excuses, promises to submit required documentation

shortly, i.e., "I will have them to you E.O.D. (or a specific date)."




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       37.     What is of note here is that all tasks related to the correspondence exchange with

Mr. Ratner by Mr. Tauster required 0.3 hours each to complete them, which does not appear to

be a reasonable time commitment for such a non-complex and non-loquacious task.

       38.     Plaintiff argues that all of the email correspondence exchange records in the

submitted Affidavit should be accounted for with 0.1 hours of required time each given the

preceding as these high incremental charges appear to inflate fees artificially.

       Defendant’s counsel included in their request ample time spent with their client on

       briefing the client, and engaged in block billing:

       39.     Under the Compensable Tasks, Defendant included multiple email exchanges and

correspondence with C. Powel and the client. C. Powell, Managing Director at State Street Bank

and Trust and State Street's Legal Counsel. It is worth noting that not a single record that

includes any form of interaction with C. Powell appears as a stand-alone item. All of the records

related to interactions with C. Powell are appearing with other tasks to ensure that a one-time

charge is assigned to multiple separate tasks (block billing). Eleven line entries list C. Powell's

interactions or interaction with a client for a total of 16.4 hours across Messrs. Tauster,

Rosenthal, and Caputo. The average time commitment of all of these padded items declared by

the Defendant's counsel is 1.5 hours, compared to all other tasks that do not list such interactions

at about 1 hour on average. This analysis makes it apparent that:

       (a) Plaintiff would be unable to determine how much time any of the listed tasks took;

       (b) This type of block billing is used to hide accountability and prevent Plaintiff from

       discerning which of the listed tasks are Compensable and which are not;

       (c) The block billing is used systematically by the Defendant's counsel to misrepresent

       regular client updates as Compensable tasks.




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         40.    Plaintiff argues that Defendant's counsel may not submit a plethora of

noncompensable, vague, block-billed attorney time entries and expect particularized, individual

deletions as the only consequence.

         41.    Plaintiff argues that all of the record that list C. Powell or the client should have a

reduction of 50 percent in time submitted.

         42.    Plaintiff further argues that as demonstrated, Defendant counsel engaged in

impermissible billing practices, including vague descriptions, block billing, and questionable

entries and that it is appropriate to impose a 25 percent across-the-board reduction in fees as seen

in Solnin I, 2018 WL 4853046 (E.D.N.Y., September 28, 2018).

         Defendant counsel’s Affidavit calculations are deficient due to multiplication and

         summation errors:

         43.    Plaintiff further argues that submitted records are deficient as they suffer from

summation and multiplication errors. While of little consequences for the award numbers, these

are demonstrative of the issues that plague the Defendant’s counsel billing practices overall

(namely fat fingering and lack of adequate four-eye check):

         (a) page 3, paragraph 5 of the Affidavit lists 67.4 hours of work as a total number of

hours;

         (b) summary of the line items provided by the Defendant’s counsel in the invoices from

page 6 to page 21 inclusive add up to the total of 66.7 hours;

         (c) Using correct number of declared hours from the invoice, the total of the declared fees

is $36,450.40 contrary to the $37,199.60 listed by the Defendant’s counsel on page 3, paragraph

5 of the Affidavit;




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           (d) Mr. Tauster’s subtotal is listed as $20,996.60 on the page 3, paragraph 5 of the

Affidavit, whereas multiplying his listed billing rate ($476) by his listed hours (44.1) results in

$20,991.60.

           (e) The Affidavit, contrary to the point (c) above, on the page 3, paragraph 5 lists the total

fees incurred at $37,119.60, which not only contradicts that summation with the correct numbers

from the point (c) but also contradicts the basic summation of the individual subtotals listed on

page 3, paragraph 5 which amounts to $37,124.60.


           Conclusion:

           44.    Because Defendant’s counsel submitted an unreasonable request for fees plagued

with impermissible billing practices, the entire demand should be reduced to $15,657.45 as

follows from the calculations presented in Exhibit B after the application of across-the-board

reduction of fees of 25%.


           45.    Alternatively, the award to the Defendant’s counsel should be reduced to the

amount of $20,876.60 as presented in Exhibit B before application of across-the-board reduction

of fees.


           Respectfully submitted,




DATED: December 18, 2020


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Exhibit A: Invoices included in the Affidavit (page 6 – page 21 inclusive)


 Row
         Date      Timekeeper     Hours                       Description of Services
  ID
                                          Exchange correspondence with M. Ratner regarding the discovery
 1      9/21/20    D. Tauster     0.3
                                          demands and responses.
                                          Exchange correspondence with M. Ratner regarding the
 2      9/22/20    D. Tauster     0.3
                                          outstanding discovery.
                                          Preliminary review and analysis of K. Shnyra's written document
 3      9/22/20    D. Tauster     0.3
                                          responses.
                                          Exchange correspondence with M. Ratner regarding outstanding
 4      9/23/20    D. Tauster     0.3
                                          discovery.
                                          Exchange correspondence with M. Ratner regarding the
 5      9/24/20    D. Tauster     0.3
                                          outstanding discovery.
                                          Review and analyze correspondence from M. regarding the
 6      9/25/20    D. Tauster     0.1
                                          outstanding discovery.
                                          Preliminary review and analysis of the initial document
 7      9/25/20    D. Tauster     1.3
                                          production from K. Shnyra and A. Reyngold.
                                          Draft correspondence to M. Ratner regarding the outstanding
 8      9/28/20    D. Tauster     0.2
                                          discovery.
                                          Review and analyze correspondence from M. Ratner regarding the
 9      9/30/20    D. Tauster     0.1
                                          outstanding discovery.
 10     10/9/20    D. Rosenthal   0.3     Review letter. Confer with D. Tauster regarding same.
                                          Prepare for and attend court conference. E-mails with D. Tauster
 11     10/14/20   D. Rosenthal   1.3
                                          and C. Powell regarding same.
 12     10/15/20   D. Rosenthal   0.2     E-mails with D. Tauster.
                                          Confer with D. Tauster and C. Powell regarding and next steps on
 13     10/16/20   D. Rosenthal   0.6
                                          motion for sanctions to compel.
                                          Read and revise Declaration and Motion for Sanctions. E-mails
 14     10/21/20   D. Rosenthal   2
                                          with D. Tauster regarding same.
 15     10/29/20   D. Rosenthal   0.3     E-mails regarding Ratner filing. Review court order.
 16     10/30/20   D. Rosenthal   0.5     Review filing by Ratner. E-mails regarding same.
                                          Review, organize and file Notice of Motion for Sanctions and or
 17     10/21/20   G. Rosner      1.1
                                          to Compel with 37 exhibits.
 18     10/13/20   D. Rosenthal   0.2     Confer with D. Tauster.
                                          Review and analyze the order granting a pre- motion conference
 19     10/13/20   D. Tauster     0.2     on the motion for sanctions. Confer with D. Rosenthal regarding
                                          same.
                                          Review and analyze the declaration of K. Shnyra submitted in
                                          advance of the sanctions motion conference. Prepare arguments
 20     10/14/20   D. Tauster     2.5     and outline for the conference. Confer with D. Rosenthal
                                          regarding same. Appear at the sanctions conference before Judge
                                          Woods. Correspondence with C. Powell regarding same.
                                          Draft the declaration of D. Tauster in support of the motion for
 21     10/15/20   D. Tauster     2.4     sanctions, including review and analysis of prior correspondence
                                          among counsel and other related documents.
                                          Meeting with C. Powell regarding the sanctions motion. Confer
 22     10/16/20   D. Tauster     0.8
                                          with D. Rosenthal.
                                          Continue drafting the declaration in support of the motion for
 23     10/16/20   D. Tauster     3.1
                                          sanctions.




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Row
       Date      Timekeeper     Hours                        Description of Services
 ID
                                        Begin drafting the memorandum of law in support of the sanctions
24    10/18/20   D. Tauster     4       motion, including review and analysis of relevant case law in
                                        connection with same.
                                        Continue drafting the memorandum of law in support of the
25    10/19/20   D. Tauster     5.4
                                        motion for sanctions.
26    10/20/20   D. Rosenthal   0.3     Confer with D. Tauster regarding motion.
                                        Continue drafting the declaration and memorandum of law in
27    10/20/20   D. Tauster     3.7     support of the sanctions motion. Review and analyze case law in
                                        support of same. Confer with D. Rosenthal regarding same.
                                        Revise the memorandum of law. Confer with D. Rosenthal
28    10/21/20   D. Tauster     3.8     regarding same. Draft the notice of motion. Draft correspondence
                                        to C. Powell regarding the motion.
                                        Telephone call with M. Ratner regarding the sanctions motion and
29    10/27/20   D. Tauster     0.6     possible settlement. Exchange correspondence with C. Powell
                                        regarding same.
                                        Exchange correspondence with C. Powell regarding the lack of an
30    10/29/20   D. Tauster     0.4     opposition to the sanctions motion. Confer with D. Rosenthal
                                        regarding same.
                                        Review and analyze the order regarding Plaintiffs' failure to file a
31    10/29/20   D. Tauster     0.2     response to the sanctions motion. Confer with D. Rosenthal
                                        regarding same.
                                        Preliminary review and analysis of Plaintiffs' opposition to the
32    10/30/20   D. Tauster     0.5     motion for sanctions. Exchange correspondence with C. Powell
                                        regarding same.
                                        Preliminary review and analysis of the K. Walker document
33    10/1/20    D. Tauster     0.2
                                        production.
                                        Review and analyze correspondence from M. Ratner regarding the
34    10/1/20    D. Tauster     0.3
                                        status of the outstanding discovery.
                                        Draft correspondence to M. Ratner regarding the outstanding
35    10/5/20    D. Tauster     0.1
                                        discovery.
                                        Draft correspondence to M. Ratner regarding the outstanding
36    10/6/20    D. Tauster     0.4
                                        discovery. Confer with D. Rosenthal regarding same.
                                        Draft the pre-motion letter regarding the proposed motion for
37    10/8/20    D. Tauster     1.5
                                        discovery sanctions.
                                        Review and analyze correspondence from M. Ratner regarding the
38    10/8/20    D. Tauster     0.5
                                        status of discovery. Confer with D. Rosenthal regarding same.
                                        Continue drafting the letter requesting a pre-motion conference
39    10/9/20    D. Tauster     0.7     for a motion for sanctions. Confer with D. Rosenthal regarding
                                        same.
                                        Draft the reply memorandum of law in response to the for
40    11/1/20    D. Tauster     5.1
                                        sanctions.
                                        Read and revise draft reply brief. Confer with D. Tauster and C.
41    11/2/20    D. Rosenthal   1.7
                                        Powell regarding same.
                                        Confer with D. Rosenthal regarding the opposition to the motion
42    11/2/20    D. Tauster     0.1
                                        and our response to same.
43    11/2/20    D. Tauster     0.5     Continue drafting the reply brief for the sanctions motion.
                                        Revise the reply memorandum of law for the sanctions motion per
44    11/2/20    D. Tauster     0.8
                                        comments from D. Rosenthal.
45    11/3/20    D. Rosenthal   2       Read and revise draft brief. E-mails with D. Tauster same.
                                        Read and review revised brief. Provide comments. E-mails with
46    11/4/20    D. Rosenthal   1
                                        D. Tauster regarding same.



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Row
       Date      Timekeeper     Hours                       Description of Services
 ID
                                        Exchange correspondence and documentation with C. Powell
                                        regarding the reply to the sanctions motion. Confer with D.
47    11/4/20    D. Tauster     2.5
                                        Rosenthal regarding same. Final revisions to the reply
                                        memorandum of law based on comment received.
                                        Review, finalize and file Reply Memorandum of Law in Further
48    11/4/20    G. Rosner      0.4
                                        Support of Defendant's Motion for Sanctions or Compel.
                                        Review and analyze correspondence and documentation from M.
49    11/10/20   D. Tauster     0.5
                                        Ratner regarding Plaintiffs' interrogatory responses.
                                        Confer with M. Caputo and D. Rosenthal regarding the status of
50    11/13/20   D. Tauster     0.4
                                        discovery received from Plaintiffs.
                                        Review court notice. Confer with D. Tauster and M. Caputo.
51    11/16/20   D. Rosenthal   0.7
                                        Begin to prepare for Friday hearing.
                                        Review and analyze motion for sanctions, plaintiffs' opposition,
52    11/16/20   M. Caputo      0.5
                                        and client's reply in preparation for hearing regarding same.
53    11/18/20   D. Rosenthal   2.6     Prepare for argument on Motion for Sanctions.
                                        Review and analyze correspondence with plaintiffs' counsel
                                        regarding discovery obligations. Conduct legal research regarding
54    11/18/20   M. Caputo      0.7
                                        waiver of discovery objections in connection with sanctions
                                        hearing.
                                        Continued preparation for argument. Review court order and e-
55    11/19/20   D. Rosenthal   1.5
                                        mails regarding same.
                                        Review and analyze plaintiffs' responses to client's discovery
                                        requests, and draft memorandum regarding same in preparation
56    11/19/20   M. Caputo      1.7
                                        for sanctions hearing. Review and analyze court order regarding
                                        sanctions hearing, and correspond with client regarding same.
                                        Review and analyze invoices involving work related to motion for
                                        sanctions. Review and analyze court's 11/24/20 order regarding
57    11/25/20   M. Caputo      0.5
                                        case status conference. Correspond with plaintiffs' counsel
                                        regarding discovery issues.
                                        Review decision on sanctions motion. Prepare for conference on
58    11/30/20   D. Rosenthal   1.8
                                        Wednesday.
                                        Correspond with M. Ratner regarding outstanding discovery
59    11/30/20   M. Caputo      0.4     issues. Review and analyze Plaintiffs' discovery responses in
                                        preparation for meet and confer with plaintiffs' counsel.




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Exhibit B: Table of Adjusted Calculations of Defendant’s Counsel Compensable Tasks


  Date      Timekeeper     AdjHours   AdjRate    AdjTotal              Description of Services
                                                              Exchange correspondence with M. Ratner
 9/21/20     D. Tauster      0.1        355          $35.50   regarding the discovery demands and
                                                              responses.
                                                              Exchange correspondence with M. Ratner
 9/22/20     D. Tauster      0.1        355          $35.50
                                                              regarding the outstanding discovery.
                                                              Preliminary review and analysis of K.
 9/22/20     D. Tauster      0.3        355      $106.50
                                                              Shnyra's written document responses.
                                                              Exchange correspondence with M. Ratner
 9/23/20     D. Tauster      0.1        355          $35.50
                                                              regarding outstanding discovery.
                                                              Exchange correspondence with M. Ratner
 9/24/20     D. Tauster      0.1        355          $35.50
                                                              regarding the outstanding discovery.
                                                              Review and analyze correspondence from
 9/25/20     D. Tauster      0.1        355          $35.50
                                                              M. regarding the outstanding discovery.
                                                              Preliminary review and analysis of the
 9/25/20     D. Tauster       0         355          $0.00    initial document production from K.
                                                              Shnyra and A. Reyngold.
                                                              Draft correspondence to M. Ratner
 9/28/20     D. Tauster      0.2        355          $71.00
                                                              regarding the outstanding discovery.
                                                              Review and analyze correspondence from
 9/30/20     D. Tauster      0.1        355          $35.50   M. Ratner regarding the outstanding
                                                              discovery.
                                                              Review letter. Confer with D. Tauster
 10/9/20    D. Rosenthal     0.3        513      $153.90
                                                              regarding same.
                                                              Prepare for and attend court conference.
 10/14/20   D. Rosenthal     0.7        513      $359.10      E-mails with D. Tauster and C. Powell
                                                              regarding same.
 10/15/20   D. Rosenthal     0.2        513      $102.60      E-mails with D. Tauster.
                                                              Confer with D. Tauster and C. Powell
 10/16/20   D. Rosenthal     0.3        513      $153.90      regarding and next steps on motion for
                                                              sanctions to compel.
                                                              Read and revise Declaration and Motion
 10/21/20   D. Rosenthal      2         513      $1,026.00    for Sanctions. E-mails with D. Tauster
                                                              regarding same.
                                                              E-mails regarding Ratner filing. Review
 10/29/20   D. Rosenthal     0.3        513      $153.90
                                                              court order.
                                                              Review filing by Ratner. E-mails
 10/30/20   D. Rosenthal     0.5        513      $256.50
                                                              regarding same.
                                                              Review, organize and file Notice of
 10/21/20    G. Rosner       1.1        248      $272.80      Motion for Sanctions and or to Compel
                                                              with 37 exhibits.
 10/13/20   D. Rosenthal     0.2        513      $102.60      Confer with D. Tauster.

                                                              Review and analyze the order granting a
 10/13/20    D. Tauster      0.2        355          $71.00
                                                              pre- motion conference on the motion for



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 Date      Timekeeper     AdjHours   AdjRate    AdjTotal              Description of Services
                                                             sanctions. Confer with D. Rosenthal
                                                             regarding same.


                                                             Review and analyze the declaration of K.
                                                             Shnyra submitted in advance of the
                                                             sanctions motion conference. Prepare
                                                             arguments and outline for the conference.
10/14/20    D. Tauster      1.3        355      $461.50
                                                             Confer with D. Rosenthal regarding same.
                                                             Appear at the sanctions conference before
                                                             Judge Woods. Correspondence with C.
                                                             Powell regarding same.
                                                             Draft the declaration of D. Tauster in
                                                             support of the motion for sanctions,
10/15/20    D. Tauster      2.4        355      $852.00      including review and analysis of prior
                                                             correspondence among counsel and other
                                                             related documents.
                                                             Meeting with C. Powell regarding the
10/16/20    D. Tauster      0.4        355      $142.00      sanctions motion. Confer with D.
                                                             Rosenthal.
                                                             Continue drafting the declaration in
10/16/20    D. Tauster      3.1        355      $1,100.50
                                                             support of the motion for sanctions.
                                                             Begin drafting the memorandum of law in
                                                             support of the sanctions motion, including
10/18/20    D. Tauster       4         355      $1,420.00
                                                             review and analysis of relevant case law in
                                                             connection with same.
                                                             Continue drafting the memorandum of law
10/19/20    D. Tauster      5.4        355      $1,917.00
                                                             in support of the motion for sanctions.
10/20/20   D. Rosenthal     0.3        513      $153.90      Confer with D. Tauster regarding motion.
                                                             Continue drafting the declaration and
                                                             memorandum of law in support of the
10/20/20    D. Tauster      3.7        355      $1,313.50    sanctions motion. Review and analyze
                                                             case law in support of same. Confer with
                                                             D. Rosenthal regarding same.
                                                             Revise the memorandum of law. Confer
                                                             with D. Rosenthal regarding same. Draft
10/21/20    D. Tauster      1.9        355      $674.50
                                                             the notice of motion. Draft correspondence
                                                             to C. Powell regarding the motion.
                                                             Telephone call with M. Ratner regarding
                                                             the sanctions motion and possible
10/27/20    D. Tauster      0.3        355      $106.50
                                                             settlement. Exchange correspondence with
                                                             C. Powell regarding same.
                                                             Exchange correspondence with C. Powell
                                                             regarding the lack of an opposition to the
10/29/20    D. Tauster      0.2        355          $71.00
                                                             sanctions motion. Confer with D.
                                                             Rosenthal regarding same.
                                                             Review and analyze the order regarding
                                                             Plaintiffs' failure to file a response to the
10/29/20    D. Tauster      0.2        355          $71.00
                                                             sanctions motion. Confer with D.
                                                             Rosenthal regarding same.




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 Date      Timekeeper     AdjHours   AdjRate    AdjTotal               Description of Services
                                                             Preliminary review and analysis of
                                                             Plaintiffs' opposition to the motion for
10/30/20    D. Tauster      0.3        355      $106.50
                                                             sanctions. Exchange correspondence with
                                                             C. Powell regarding same.
                                                             Preliminary review and analysis of the K.
10/1/20     D. Tauster       0         355          $0.00
                                                             Walker document production.
                                                             Review and analyze correspondence from
10/1/20     D. Tauster      0.1        355          $35.50   M. Ratner regarding the status of the
                                                             outstanding discovery.
                                                             Draft correspondence to M. Ratner
10/5/20     D. Tauster      0.1        355          $35.50
                                                             regarding the outstanding discovery.
                                                             Draft correspondence to M. Ratner
10/6/20     D. Tauster      0.4        355      $142.00      regarding the outstanding discovery.
                                                             Confer with D. Rosenthal regarding same.
                                                             Draft the pre-motion letter regarding the
10/8/20     D. Tauster      1.5        355      $532.50
                                                             proposed motion for discovery sanctions.
                                                             Review and analyze correspondence from
                                                             M. Ratner regarding the status of
10/8/20     D. Tauster      0.5        355      $177.50
                                                             discovery. Confer with D. Rosenthal
                                                             regarding same.
                                                             Continue drafting the letter requesting a
                                                             pre-motion conference for a motion for
10/9/20     D. Tauster      0.7        355      $248.50
                                                             sanctions. Confer with D. Rosenthal
                                                             regarding same.
                                                             Draft the reply memorandum of law in
11/1/20     D. Tauster      5.1        355      $1,810.50
                                                             response to the for sanctions.
                                                             Read and revise draft reply brief. Confer
11/2/20    D. Rosenthal     0.9        513      $461.70      with D. Tauster and C. Powell regarding
                                                             same.
                                                             Confer with D. Rosenthal regarding the
11/2/20     D. Tauster      0.1        355          $35.50   opposition to the motion and our response
                                                             to same.
                                                             Continue drafting the reply brief for the
11/2/20     D. Tauster      0.5        355      $177.50
                                                             sanctions motion.
                                                             Revise the reply memorandum of law for
11/2/20     D. Tauster      0.8        355      $284.00      the sanctions motion per comments from
                                                             D. Rosenthal.
                                                             Read and revise draft brief. E-mails with
11/3/20    D. Rosenthal      2         513      $1,026.00
                                                             D. Tauster same.
                                                             Read and review revised brief. Provide
11/4/20    D. Rosenthal      1         513      $513.00      comments. E-mails with D. Tauster
                                                             regarding same.
                                                             Exchange correspondence and
                                                             documentation with C. Powell regarding
                                                             the reply to the sanctions motion. Confer
11/4/20     D. Tauster      1.3        355      $461.50
                                                             with D. Rosenthal regarding same. Final
                                                             revisions to the reply memorandum of law
                                                             based on comment received.




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 Date       Timekeeper       AdjHours   AdjRate    AdjTotal             Description of Services
                                                                Review, finalize and file Reply
                                                                Memorandum of Law in Further Support
11/4/20      G. Rosner         0.4        248          $99.20
                                                                of Defendant's Motion for Sanctions or
                                                                Compel.
                                                                Review and analyze correspondence and
11/10/20     D. Tauster        0.5        355      $177.50      documentation from M. Ratner regarding
                                                                Plaintiffs' interrogatory responses.
                                                                Confer with M. Caputo and D. Rosenthal
11/13/20     D. Tauster        0.4        355      $142.00      regarding the status of discovery received
                                                                from Plaintiffs.
                                                                Review court notice. Confer with D.
11/16/20    D. Rosenthal       0.7        513      $359.10      Tauster and M. Caputo. Begin to prepare
                                                                for Friday hearing.
                                                                Review and analyze motion for sanctions,
11/16/20     M. Caputo         0.5        296      $148.00      plaintiffs' opposition, and client's reply in
                                                                preparation for hearing regarding same.
                                                                Prepare for argument on Motion for
11/18/20    D. Rosenthal       2.6        513      $1,333.80
                                                                Sanctions.
                                                                Review and analyze correspondence with
                                                                plaintiffs' counsel regarding discovery
11/18/20     M. Caputo         0.7        296      $207.20      obligations. Conduct legal research
                                                                regarding waiver of discovery objections
                                                                in connection with sanctions hearing.
                                                                Continued preparation for argument.
11/19/20    D. Rosenthal       1.5        513      $769.50      Review court order and e-mails regarding
                                                                same.
                                                                Review and analyze plaintiffs' responses
                                                                to client's discovery requests, and draft
                                                                memorandum regarding same in
11/19/20     M. Caputo         0.9        296      $266.40      preparation for sanctions hearing. Review
                                                                and analyze court order regarding
                                                                sanctions hearing, and correspond with
                                                                client regarding same.
                                                                Review and analyze invoices involving
                                                                work related to motion for sanctions.
                                                                Review and analyze court's 11/24/20 order
11/25/20     M. Caputo          0         296          $0.00
                                                                regarding case status conference.
                                                                Correspond with plaintiffs' counsel
                                                                regarding discovery issues.
                                                                Review decision on sanctions motion.
11/30/20    D. Rosenthal        0         513          $0.00
                                                                Prepare for conference on Wednesday.
                                                                Correspond with M. Ratner regarding
                                                                outstanding discovery issues. Review and
11/30/20     M. Caputo          0         296          $0.00    analyze Plaintiffs' discovery responses in
                                                                preparation for meet and confer with
                                                                plaintiffs' counsel.

        Total:            $20,876.60


        Total after 25% across-the-board fees reduction:                  $15,657.45


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Exhibit C: Bureau of Labor Statistics, CPI for Urban Wage Earners and Clerical Workers

(CPI-W) time series (https://data.bls.gov/timeseries/CWUR0000SA0) extracted on

December 18, 2020



 Year   November
 2010    214.75
 2011    222.813
 2012    226.595
 2013    229.133
 2014    231.551
 2015    231.721
 2016    235.215
 2017    240.666
 2018    245.933
 2019    250.644
 2020    253.826




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